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Counsel for Nobuaki Kobayashi, in his capacity
as the Bankruptcy Trustee and Foreign Representative
of MtGox Co., Ltd., a/k/a MtGox KK

                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 In re:                                               Chapter 15

 MtGox Co., Ltd. (a/k/a MtGox KK),                    Case No. 14-31229-sgj-15

                 Debtor in a Foreign Proceeding.


                      NOTICE OF FILING OF
  PROOF OF CLAIM DOCUMENTS IN JAPANESE BANKRUPTCY PROCEEDING

          Nobuaki Kobayashi, in his capacity as bankruptcy trustee and foreign representative of

MtGox Co., Ltd., a/k/a MtGox KK (the “Debtor”), by and through his United States attorneys,

Brown Rudnick LLP and Gardere Wynne Sewell LLP, hereby submits the attached documents
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(the “Proof of Claim Documents”) that were distributed at the third meeting of creditors held on

April 22, 2015 in Tokyo, Japan, in connection with the Debtor’s Japanese bankruptcy

proceeding. The Proof of Claim Documents consist of the following:

                 The Bankruptcy Trustee’s Third Report to Creditors, a copy of which is
                  attached hereto as Exhibit A;
                 Notice of Commencement of Filing of Bankruptcy Claims by MTGOX
                  Bitcoin Exchange Users, a copy of which is attached hereto as Exhibit B;
                 Notice Regarding Filing of Bankruptcy Claims by Bankruptcy Creditors Other
                  Than Users, a copy of which is attached hereto as Exhibit C;
                 FAQs Regarding Filing of Bankruptcy Claims by MTGOX Bitcoin Exchange
                  Users, a copy of which is attached hereto as Exhibit D; and
                 A Sample Proof of Claim Form, a copy of which is attached hereto as Exhibit
                  E.

       The Proof of Claim Documents, inter alia, provide information with respect to the

procedures for filing proofs of claim in the Debtor’s bankruptcy proceeding in Japan and are also

available on the MtGox website located at https://www.mtgox.com.



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Dated: April 22, 2015                Respectfully submitted,
       Dallas, Texas
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